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IN THE UNITED sTATEs DISTRICT CoURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUL |5 PH 2: 15
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ARTURo AGUIRRE cRUz, et al . , WzD GP "-é. ."~.i*"?»t?\'BS

Plaintiffs,
vs .

Civ. NO. 04-2389-M1[P

FORD MOTOR COMPANY,

\J\_¢v\_#\_¢vvvv

Defendant.

 

ORDER DENYING WITHOUT PREJUDICE DEFENDANT'S MOTION
FOR EXTENSION OF TIME

 

Before the court is defendant's Motion for Extension of
Time, filed July 13, 2005 (dkt #24). A review of the record
reveals that the defendant did not file a certificate of
consultation with its motion. Local Rule 7.2 requires that

“[a]ll motions . . . shall be accompanied by
a certificate of Counsel . . . affirming
that, after consultation between the parties
to the controversy, they are unable to reach
an accord as to all issues or that all other
parties are in agreement with the action
requested by the motion.” Local Rule
7.2(a)(1)(B). Failure to file a Rule 7.2
certificate “may be deemed good grounds for
denying the motion.” Id.

Therefore, defendant's motion is DENIED, without prejudice.

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The defendant may renew its motion by refiling it with a

certificate of consultation in compliance with Local Rule 7.2.

United States Magistrate Judge

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IT IS SO ORDERED.

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Honorable J on McCalla
US DISTRICT COURT

